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           EXHIBIT 4
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                                                                                            April 24, 2018

   Via Email

   James E. Kolenich, Esq.                                          Elmer Woodard, Esq.
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                   Re:     Sines v. Kessler, 17 Civ. 0072 (NKM) (W.D. Va.)

   Dear Mssrs. Kolenich and Woodard:

           I write on behalf of Plaintiffs in the above-captioned action regarding the responses and
   objections ("Responses") of Defendants Cantwell, Damigo, Heimbach, Identity Evropa, Kessler,
   National Socialist Movement ("NSM"), Nationalist Front, Parrott, Ray, Schoep, Traditionalist
   Worker Party ("TWP"), and Vanguard America (collectively, "Defendants") to Plaintiffs'
   [Corrected] First Set of Requests for Production of Documents, served on January 25, 2018
   ("RFPs"). 1 While reserving all rights as to any deficiencies in Defendants' Responses, Plaintiffs
   write pursuant to the Court's direction during the April 19, 2018 telephonic conference that the
   parties meet and confer concerning the issues set forth in Plaintiffs' April 19, 2018 email to the
   Court. Plaintiffs look forward to receiving Defendants' response to this letter by no later than
   May 1, 2018, and are available to meet and confer regarding Defendants' Responses at your
   soonest possible convenience over the next week.

   Defendants Have Waived Any Objections to the RFPs

           With the exception of Defendants Identity Evropa and TWP, Defendants have not
   objected to any of the RFPs and therefore have waived any objections. See, e.g., Southampton
   Pointe Prop. Owners Ass'n, Inc. v. OneBeacon Ins. Co., No. 2:12-cv-03035-RMG, 2013 WL
   12241830, at *2 (D.S.C. Aug. 27, 2013) (finding plaintiff waived objection by failing to raise in
   response to RFP); see also Hall v. Sullivan, 231 F.R.D. 468,474 (D. Md. 2005) ("[I]mplicit
   within Rule 34 is the requirement that objections to document production requests must be stated
   with particularity in a timely answer .... "). Defendants TWP and Identity Evropa object to
   Plaintiffs' RFPs solely on the ground that "to comply without third party permission or a court
   order violates the Stored Communications Act 18 USC §2701 et seq." This is not a legitimate
   objection (see below), and Defendants TWP and Identity Evropa have waived all other
   objections.



       Capitalized terms used in this letter have the same meaning as in the RFPs.
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   Defendants' Responses Are Inadequate

           Plaintiffs Request that Defendants Confirm They Have No Responsive Documents:
   Several Defendants, including Defendants Heimbach, Nationalist Front, Ray, and Vanguard
   America, responded that there were no documents responsive to any of Plaintiffs' RFPs, or
   "none in [their] possession." Plaintiffs request that by no later than May 1, 2018, any Defendant
   who answered "none" or some variant thereof to any RFP confirm that for each RFP, there are
   no responsive Documents or Communications in that Defendant's possession, custody, or
   control. See Fed. R. Civ. P. 34(a)(l); RFP Instr. H. Defendants are reminded that "possession,
   custody, or control" is not limited to Documents or Communications in the physical possession
   of a Defendant, but rather extends to materials over which each Defendant has custody or
   control. See, e.g., Terry v. Modern Inv. Co., No. 3:04-CV-00085, 2006 WL 2434264, at *6 n.15
   (W.D. Va. Aug. 21, 2006) ("'Control' is defined as the legal right to obtain the document on
   demand."); United States v. 2012 GMC Savannah Van VIN: JGDS7DC40Cl145561, No. 2:13 cv
   18, 2014 WL 2215933, at *2 (W.D.N.C. May 29, 2014) ("A party is obligated to produce her
   account records when she has the legal right to those records even though the party does not have
   a copy of the records.").

            Similarly, for those Defendants who responded to any of the RFPs with the response "See
   Attached," "None except as listed above," or some variant thereof, Plaintiffs request that by no
   later than May 1, 2018, each Defendant clarify their Responses so that Plaintiffs can discern
   whether each Defendant is producing Documents and Communications in response to each RFP
   or, alternatively, claiming that they are not in possession, custody, or control of any Documents
   or Communications responsive to the RFP. See, e.g., Porreca v. Mitchell L. Morgan Mgmt.,
   Inc., Civ. No. JFM 08-1924, 2009 WL 400626, at *6-7 (D. Md. Feb. 13, 2009) (ordering
   plaintiffs to provide "full and complete responses" to RFPs when plaintiffs "merely respond[ ed]
   'see attached documents' for every request").

           In addition, Defendants Identity Evropa and TWP have objected to Plaintiffs' RFPs
   solely on the ground that "to comply without third party permission or a court order violates the
   Stored Communications Act 18 USC §2701 et seq."; neither Identity Evropa nor TWP provides
   any further basis for its refusal to produce any documents in response to Plaintiffs' RFPs.
   Accordingly, Plaintiffs request that by no later than May 1, 2018, Defendants Identity Evropa
   and TWP confirm that they do not have in their possession, custody, or control any responsive
   documents such as emails, text messages, receipts, hard copy documents, pictures, videos, audio
   recordings, phone records, or any other kind of Document or Communication, the production of
   which would not be affected by the Stored Communications Act ("SCA"). For example, the
   contract between Defendants Identity Evropa and Eli Mosley, to which Mr. Kolenich referred
   during the April 19 telephonic conference with the Court and described as governing the
   relationship between those parties, would be responsive-based on Mr. Kolenich's description
   alone-to at least RFP Nos. 3 and 6 and would not be affected by the SCA.

           Plaintiffs Request that Defendants Confirm They Will Provide SCA Consents: Certain
   Defendants, including Damigo, Heimbach, and Ray, suggest in their Responses that they would
   have had responsive documents but for their deletion by sites such as Twitter, Facebook, and the
   Daily Stormer. Deactivation or deletion of Social Media accounts or posts does not, however,
   shield otherwise relevant material from discovery. See, e.g., Romanov. Steelcase Inc., 30 Misc.
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   3d 426,435 (N.Y. Sup. Ct. 2010) (ordering plaintiff to deliver to defendant a consent and
   authorization as required by social media website operators to gain access to plaintiffs social
   media records "including any records previously deleted or archived by said operators").
   Moreover, the SCA provides no basis for Identity Evropa, TWP, or any other Defendant to
   refuse to produce Documents and Communications. While the SCA may limit the ability of
   electronic communications and remote computing services to produce certain communications
   without the consent of the relevant user, see 18 U.S.C. § 2702(b)(3) (2012), the SCA does not
   prevent any Defendant from satisfying its discovery obligations, see, e.g., Flagg v. City of
   Detroit, 252 F.R.D. 346,363 (E.D. Mich. 2008) (ordering defendants to give consent for
   retrieval of information subject to the SCA from an internet service provider); see also Al Noaimi
   v. Zaid, No. 11-1156-EFM, 2012 WL 4758048, at *3 (D. Kan. Oct. 5, 2012) (finding the court
   need not resolve motion to quash where it could order the plaintiff to execute a consent to third
   party that satisfies the SCA); supra regarding "control" of documents.

           Plaintiffs request that by no later than May l, 2018, each Defendant confirm that they
   will provide by no later than May 4, 2018, the necessary SCA consents to permit the providers of
   electronic communication services and remote computer services to provide documents
   responsive to the RFPs. See RFP Instr. H.

   Defendants Have Taken No Steps to Preserve Responsive Information

           RFP No. 8 requests that Defendants produce "[a]ll Documents and Communications
   concerning the steps you have taken to preserve Documents and Communications relevant to the
   lawsuit, including the Documents and Communications responsive to these Requests." In
   response to this Request, Defendants interpose a variety of answers suggesting that no steps were
   taken to preserve relevant information. For example, Defendants Identity Evropa, TWP, and
   Vanguard America all respond that they had taken "no special steps" to preserve relevant
   Documents and Communications. TWP's response is particularly troubling given the issues
   raised in Plaintiffs' Emergency Motion for an Order to Show Cause Why Defendants Matthew
   Parrott and Traditionalist Worker Party Should Not Be Sanctioned for Spoliation and Ordered to
   Permit Plaintiffs to Conduct a Forensic Examination oflnformation Systems. (ECF No. 272.)
   The other Defendants all responded "none" or a variation of "[n]one other than items responsive
   to above requests," but none of the documents produced to date have provided information about
   the steps taken to preserve Documents and Communications relevant to the lawsuit.

            Plaintiffs request that by no later than May 1, 2018, each Defendant confirm whether or
   not they: (1) have taken steps to preserve Documents and Communications relevant to this
   litigation; and (2) are in possession, custody, or control of any Documents or Communications
   concerning steps taken to preserve Documents and Communications relevant to this litigation. 2




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      To reiterate, Plaintiffs reserve all rights with respect to other aspects of Defendants' Responses. By
   way of example only, certain Defendants, including Schoep and NSM, improperly direct Plaintiffs to
   websites that purportedly contain, among other material, information responsive to Plaintiffs' RFPs.
   Defendants are required to collect responsive material and produce it to Plaintiffs; Defendants cannot
   simply point Plaintiffs to entire websites and expect Plaintiffs to know which information Defendants are
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           Defendants are presumed to be in possession, custody, or control ofrelevant and
   responsive Documents, despite the inadequacies in Defendants' Responses set forth above.
   Accordingly, in addition to taking the steps requested above, and consistent with the Court's
   direction at the March 16, 2018 telephonic conference, Plaintiffs propose that the parties enter
   into the attached Proposed Order and Stipulation for the Production of Electronically Stored
   Information and Proposed Evidence Preservation Stipulation and Order. Please let us know by
   May 1, 2018, if Defendants are prepared to enter into the attached stipulations or if you have any
   comments on the attached.

          Plaintiffs look forward to receiving Defendants' response to this letter by no later than
   May 1, 2018. Plaintiffs continue to reserve all rights with respect to their RFPs and Defendants'
   Responses.




   cc:    Plaintiffs' Counsel of Record

   (Attachments)




   referring to as responsive to the RFPs. Plaintiffs will address this and other deficiencies in Defendants'
   Responses in future correspondence.
